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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case No. 01-1139 (IKF)
) Jointly Administered
Debtors. )
CERTIFICATE OF SERVICE

I, James EB. O’Neill, hereby certify that on the 16 day of F ebruary, 2007, I caused
a copy of the following document(s) to be served on the individuals on the attached service list(s)

in the manner indicated:

NOTICE OF DEBTORS’ MOTION AND MEMORANDUM FOR AN ORDER
PURSUANT TO F.R.B.P. 7056 DISALLOWING AND EXPUNGING EIGHTY-EIGHT
(88) TIME-BARRED CANADIAN ASBESTOS PROPERTY DAMAGE CLAIMS

DEBTORS’ MOTION AND MEMORANDUM FOR AN ORDER PURSUANT TO
F.R.B.P. 7056 DISALLOWING AND EXPUNGING EIGHTY-EIGHT (88) TIME-
BARRED CANADIAN ASBESTOS PROPERTY DAMAGE CLAIMS

PROPOSED ORDER ON DEBTORS’ MOTION AND MEMORANDUM FOR AN

ORDER PURSUANT TO F.R.B.P. 7056 DISALLOWING AND EXPUNGING EIGHTY-
EIGHT (88) TIME-BARRED CANADIAN ASBESTOS PROPERTY DAMAGE CLAIMS

AUIMI CS dear tr~

s E. O’Neill (Bar No. 4042)

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Case No. 01-01139 JKF)
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